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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

| UNITED STATES OF AMERICA, CASE NO. SACR11-00170-AG

Plaintiff, DEFENDANT’S SENTENCING
MEMORANDUM
vs.
Date: May 14, 2012
CARLTON NEIL MORSE, Time: 1:30 p.m.
Defendant.

 

 

 

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TABLE OF CONTENTS
Page

TABLE OF AUTHORITIES ...... 2.2... eee iil
L. INTRODUCTION ..... 0.2 occ cece cece eee e een n enn eeuns 1
WN. STATEMENT OF FACTS ........000. ccc cc cee cece eee ence eee 4
A. Facts Pertaining To Mr. Morse Personally ..............0000. 4
1. Criminal History ......0. 0.0.0. ce cee cece eee e ee eeeeae 5
2.  Defendant’s Background ............... 0.0.00 .0000 5
3. Factors Leading to the Offense Conduct ............... 5
4. Mr. Morse’s Diary and Corrections to the PSR .......... 6
B. The Offense Conduct And Corrections To The PSR ........... 7
C. Mr. Morse’s Conduct After The Warrant ......0.0 0.0.0. eeeee 9
| Ill, ARGUMENT AND RECOMMENDATIONS ...............0.02- 10
A. Corrections To The Presentence Report ............0..00005 10
B. Guideline And Departures .......... 0.0.0 cee cee cuveeaes 10
C. Booker Considerations .............. 0c cece cece eee aees 12
1. The Nature and Circumstances of the Offense ......... 13
2. The Defendant’s Characteristics ................0000. 13
3. Collateral Consequences .............0...0 0c veces 15

4. Suffering of Mr. Morse - Stigma of Felony Conviction,
Sex Offender Registration ...............0000.0000. 15
5. Acceptance of Responsibility ................0..000. 16
6. Rehabilitation ........0.0.. 0... ccc ccc eee eee eee ee 16
7. Mr. Morse’s Vulnerability in Custody ................ 17
8. Avoidance of Disparity in Sentencing ................ 17
9. Deterrence 0.0... ec eceee ence ennenes 18
10. Educational, Vocational and Treatment Consideration ... 19

DEFENDANT’S SENTENCING MEMORANDUM

 
Cash 8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 3o0f 25 Page ID #:223

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Recommendations ..........00.. 00 cece cence eee tere ernes 19
1. Prison Sentence .......... cece cece eee eee eens 19
2. Post-sentencing Rehabilitation ...................... 19
3, Supervised Release Consideration ............0.0005 19
4, Self-surrender .. 0... ccc cee cece eee ee eee ees 20
5. Residential Drug Abuse Program (RDAP) ............ 20

ii

DEFENDANT’S SENTENCING MEMORANDUM |

 
Case 8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 4of25 Page ID #:224

 

 

l TABLE OF AUTHORITIES

2 Page

3 | CASES

4\\ Brady v. United States

5 397 US. 742, 90 S.Ct. 1463 2... ec ce eens 16

6 || Gall v. United States

7 552 U.S. 38 (2007) 2. eee eee teen etn nnes 11

8 || Kimbrough v. United States

9 128 8. Ct. 558 (2007) 0... ce ete eee e eens 11
10 || Smith v. Wainwright
ll 664 F.2d 1194 11" Cir, 1981) 20.0. e cece ne eeeees 16
12 || United States v. Ameline
13 400 F.3d 646 (9th Cir. 2005)... 0. eee eee cece es 12, 13.
14 || United States v. Beiermann
15 599 F. Supp.2d 1087 (N.D. Iowa 2009) ...... 0.0.0. c eee eee eee 1]
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17 343 US. 220, 125 8. Ct. 738 (2005)... cece eee ee 12, 13
18 || United States v. Calecagno
19 Case No. 06-CR-00152-AHM ......... 0... ccc cece eee ee aes 17
20 || United States v. Cherry
21 487 F.3d 366 (6" Cir. 2007) 00.0... cece cece cece eseceucueeees 16
22 || United States v. Flyer
23 633 F.3d 911 (9" Cir. 2011) 2... cece nec c ce ceeeees 8
24 || United States v. Kline
25 Case No. 02-CR-00040-CBM ........ 0.00 cc cece ccc ec eeeecaes 17
26 || United States v. Kuchinski
27 469 F.3d 853 (9" Cir. 2006) 00... 0. cece cece eee een eneeeees 8
28

" DEFENDANT’S SENTENCING MEMORANDUM |

 
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bP 8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 5of25 Page ID #:225

United States v. Libby sentence commutation

http://georgewbush-
whitehouse.archives.gov/news/releases/2007/07/20070702-3.html ... 15

| United States v. McBride

 

362 F.3d 360 (6" Cir. 2004) 2.0... ccc cece nen cecceeees 11
United States v. Monaco

23 F.3d 793 (3d Cir. 1994) 2.0.0 c cece eeeuees 11
United States v. Rausch

570 F.Supp.2d 1295 (D.Colo, 2008)... 00000 cee eee 17
United States v. Smith

683 F.2d 1236, 1240 (9™ Cir. 1982) 20.00 e ee eeeee 15
United States v. Stern

590 F.Supp.2d 945 (N.D. Ohio 2008) .....0 000 16, 18
United States v. Sudyka

2008 WL 1766765 (D.Neb. April 14, 2008)...............0.0000, 11
United States v. Shasky

939 F.Supp. 695 (D.Neb 1996)... 00 cece eeee 17
SENTENCING GUIDELINES
U\S.S.G. Section 2B1.1 0... ccc ccc ccc cece een ee eeecneeenes 11
STATUTES
IBUS.C. § 3553). occ cece n ene eeenueeeunenee 12, 13

iv

 

 

DEFENDANT’S SENTENCING MEMORANDUM
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P 8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 6of 25 Page ID #:226

| I. INTRODUCTION

Defendant Carlton Morse’s sentencing is before the Court by way of a plea to
the Court. There is no plea agreement in this matter. This memo will request a lower
sentence than initially recommended by the March 26, 2012 Probation Letter to
Court) (120 months), or later indicated in said letter “if the Court is inclined to apply
a variance or departure”(48 months). /d. at p. 6.

There is no dispute that Mr. Morse possessed child pornography, or that the
number of images exceeded 600. There are, however, factual nuances which
distinguish this case and justify imposition of a far less harsh sentence indicated
under either scenario envisaged by the Probation Office.

Outwardly a successful fourth-year associate with a nationally recognized law
firm who had graduated from the USC School of Law in the top ten percent of his
class, Mr. Morse was highly respected by the major partners in the firm. The son of
very proud parents, he worked hard to maintain the high level of respect held by those
he cared most about. Inwardly, however, Mr. Morse was secretly struggling with his
sexual identity. Too fearful to disclose this struggle, he began drinking more heavily
—and eventually, in an extraordinary lapse in judgment, turned to child pornography.

A personal diary kept by Mr. Morse, selected portions of which are set forth
in the PSR, illustrate the extent of his struggles with child pornography -- which he
repeatedly tried to dissociate from himself at that time. In his solitary losing struggle,
he often discarded the “offending computer,” first removing the internal hard drive
before discarding the computer. He then threw the what had become an unusable
hard drive into his closet, often first taking out his frustrations on it with a hammer,
What makes this case even more unusual are the following further facts:

(a) A government spreadsheet identifies the nine devices seized in this
matter. See Exhibit 1. Of those, only two were functioning at the time of seizure.
The remaining devices are internal hard drives, which had been removed from the

computers when the computer body was discarded by Mr. Morse. These removed

 

DEFENDANT’S SENTENCING MEMORANDUM |

 
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hard drives were not connected to any computer, and many showed signed of damage.
The majority of the child pornography was found on these abandoned and unused
(and/or unusable) hard drives.

(b) There is no question, and the defense admits, that Mr. Morse viewed
over 600 images. The government spreadsheet reveals, though, that the vast majority
(over four-fifths) of the images found on all the seized devices were located in areas
labeled as “Free Space,” “Cache/Temp History,” and “Recycle.” Jd These images
were not in “Active” space, which represents child pornography immediately
available and viewable. The total of “active files” on all devices is 1,732; the total
of “active files” on the one useable device (Toshiba Laptop 1B17) is 518. These files
included some videos, which would move the image count above 600. “Free space,”
“cache” files, and “recycle” consist of such things as space on a hard drive containing
deleted data, the location where the computer will automatically store files which are
downloaded but not necessarily viewed, and the bin containing files that were not
necessarily or even likely viewed. “Free space” cannot be seen or accessed without
the use of forensic software, and “cache” files could be accessed via another program.
There is no evidence Mr. Morse ever possessed forensic software in this matter or
otherwise accessed “free space,” nor that he ever saw anything in “cache” or would
know how to do so. Thus, while the total of “free space” files on all devices is 4,875,
the total of “cache” files on all devices is 6,578, and the total of “recycle” files on all
devices is 3,328, the child pornography actually seen by Mr. Morse is far less than the
numbers stated in the PSR.

(c) Adiary entry from “March 7, 2007” is actually a mis-written date entry,
plainly intended to be “2009”: the entry is found in a bound volume between the
entries of February 2009 and April 2009. See Exhibit 2. Similarly, the date of
“January 4, 2008” is apparently another mis-written year, also apparently from 2009,
found in several loose pages between January 1, 2009 and January 25, 2009 (written
year is scribbled over). See Exhibit 3.

DEFENDANT’S SENTENCING MEMORANDUM

 
Case 8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 8 of 25 Page ID #:228

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(d) The child pornography in this matter came to Mr. Morse by way of his
participation in a Peer-to-Peer (P2P) file sharing program.

P2P permits sharing to occur by installing a P2P program. Thereafter, Mr.
Morse could download folders which contain images (“files”). No other action is
needed beyond this installation in order for others to have access, or “share,” although
a user can also designate files for sharing. The participation of Mr. Morse in the
sharing aspect was completely passive. For his own use, however, Mr. Morse would
generally see a folder or file, and download it based on the name. Prior to download,
the actual images need not be viewed, nor is there necessarily an indication of the
actual number of images, or types of images, that will be coming in a folder. For
others to use the program, thereby accessing the files in Mr. Morse’s program, Mr.
Morse did nothing apart from the installation of the program. Because of the
characteristics of the P2P program, it is possible for an individual to obtain thousands
or tens of thousands of images in folders which they never open, never see, and have
no knowledge regarding the actual contents. In this case, the government spreadsheet
sets forth what was contained on each device and where the files were located. See
Exhibit 1.

(e) Mr. Morse’s outward and inward worlds collided when the search
warrant was executed at his apartment on January 11, 2011. At this time, he
experiericed a crisis of conscience, which now permits the Court to gain insight into
this young man. Amidst the expected arguments that his involvement with child
pornography displays an uncaring nature regarding the suffering of the child victims
tragically used to make the pornography, we ask the Court to consider whether he was
in fact simply bound up in his internal dilemmas and alcohol abuse and never
appreciated this aspect of his crime. In support of this perspective, we ask the Court
to consider Mr. Morse’s conduct following the search warrant. He immediately
notified his supervising partner and the managing partner at the firm in order to

protect the integrity of the firm and its clients. He could easily have kept the

DEFENDANT’S SENTENCING MEMORANDUM

 
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investigation and warrant hidden, collecting his paycheck and keeping his firm in the
dark. The decision to voluntarily make this known to his firm at the outset
demonstrates that Mr. Morse is a caring person, who acts with integrity in times of
crisis. None of this mitigates the wrongfulness of his conduct regarding pornography,
but it provides insight into the person now before this Court for sentencing. A review
of the letters of the partners of the firm (including a former federal prosecutor, former
federal judge, and managing partner among others) corroborates this. See Exhibit 4.

(f) | Mr. Morse is now receiving the much needed counseling and treatment
for his addiction and identity issues. In September of 2011, he voluntarily enrolled
in and currently attends the Sex Offender Solution Program, directed by Dr. Wesley
Maram. This is nota simple monitoring program; rather, beginning on September 10,
2011, Mr. Morse began the evaluation, lab and treatment process in what can be a

multi-year program. See Exhibit 5. In conjunction with the sex offender treatment

| program, Mr. Morse made full disclosure to his family, and his family is working in

full support of the program. Also, without court or pretrial orders, Mr. Morse has
continued attendance at Alcoholics Anonymous at least once per day and is actively

working the program with a sponsor.

Il. STATEMENT OF FACTS

Defendant Carlton Morse has entered a plea of guilty to one count of
possessing a laptop containing at least one image of child pornography in violation
of 18 U.S.C. §§ 2252A(a)(5)(B), (b)(2). Relevant facts concerning Mr. Morse
personally and the offense conduct are set forth below.

A. Facts Pertaining To Mr. Morse Personally

On pages 10 through 15, the presentence report (“PSR”) sets forth Mr. Morse’s
criminal history and various “offender characteristics.” Highlights of those sections

are set forth below, along with additional information.
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DEFENDANT’S SENTENCING MEMORANDUM |

 
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8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 10 of 25 Page ID #:230

1. Criminal History
Mr. Morse was never previously arrested or prosecuted before this case. PSR,
p. 10, §{[ 38-44. Since his contact in this case, he has engaged in no other criminal
conduct and suffered no arrests. PSR, p. 10, [J 42-44. The presentence report
therefore accords him zero criminal history points. PSR, p. 10, ] 40.
2. Defendant’s Background
As both the presentence report and the Probation Office recommendation letter
indicate, Mr. Morse was raised in a loving, religious household. Growing up in
Tustin, Mr. Morse’s father was a certified public accountant; his mother initially
worked as a secretary, then enrolled in nursing school when Mr. Morse was in high
school. PSR, pp. 10-11, {J 46, 48. Mr. Morse was involved in church activities as
a child, was a member of the Boy Scouts, eventually was an Eagle Scout, and played
the saxophone. PSR, p. 11, 9 49.
After graduation from college, Mr. Morse was admitted to USC Law School.
He graduated in the top ten percent of his class, and was hired by Irell & Manella, a
nationally prominent law firm. The presentence report states that the Probation
Officer “was provided with numerous glowing letters from work associates, friends
and family” — and his supervisors and colleagues “attest to Morse’s dedication to
work, reliability, integrity, intellect, and professionalism.” PSR, p. 11, 151. In
addition, “[h]is family members describe him as honest, generous, religious, patient,
humble, and caring.” Jd.
3. Factors Leading to the Offense Conduct
While outwardly very successful, Mr. Morse inwardly was secretly struggling
with issues involving his sexual identity. The presentence report cites one letter from
a former colleague and friend, to whom Mr. Morse had confided his attraction to
adult men. PSR, p. 11,452. The colleague and friend expressed the opinion that Mr.
Morse had put “an enormous amount of pressure on himself to be what he considers
perfect, essentially. Between his parents and his religious background, he very much

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DEFENDANT’S SENTENCING MEMORANDUM |

 
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wants to do everything ‘right’: have a wife and kids, a great career, etc.” Jd. He
added that he believed that Mr. Morse’s desire to excel (“wanting a perfect ‘report
card”) had been “problematic for his personal life” — since it resulted in his doing
“everything in his power to deny, suppress, and ignore his attraction to men...” Id.

Mr. Morse did not disclose this painful struggle to his family, other friends, or
more senior colleagues at work. Instead, he forcefully attempted to mold himself to
fit the outward image that he believed was necessary to maintain the love of his

family and the respect of those in his working life. From law school onward, the

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tension increased as the normal stress of competitive law school combined with the
10 || psychological turmoil of his secret “problem.” Seeking psychological help was out
11 | of the question. Revelation of his secret, he believed, would cause him to lose
12 || everything. Instead, as law school progressed, he turned increasingly to alcohol for
13 } relief.

14 As noted in the Presentence Investigation Report, his drinking increased
15 | throughout 2008 to reach a level of 1 - 1.5 bottles of wine per night in early 2009.
16 || PSR, p. 13,61. While the alcohol did not inhibit his academic or legal performance,
17 | it left him vulnerable to lapses in judgment regarding his involvement with child
18 || pornography. It appears that the viewing of child pornography was preceded by
19 || alcohol abuse. An addictive personality, otherwise helpful to many litigators,
20 || exacerbated the situation.

21 4. Mr. Morse’s Diary and Corrections to the PSR

22 As referenced in the presentence report, Mr. Morse kept entries ina diary. The
23 || portions quoted in the PSR unquestionably give the Court insight into the intensity
24 || of the Mr. Morse’s struggles with child pornography. PSR, p. 5,910. The defense
25 || believes, however, that the presentence report is incorrect in stating that the journal
26 || “dat[es] back to March 2007.” /d. This clearly appears to be a mis-written date entry,
27 || intended by Mr. Morse to be “2009.” The entry is found in a bound volume between
28 | the entries of February 2009 and April 2009. See Exhibit 2 (photographs of bound

 

 

DEFENDANT'S SENTENCING MEMORANDUM |
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diary pages taken in presence of agent). Similarly, the date of “January 4, 2008” (also
noted in the PSR, p. 5, J 10) is apparently another mis-written year, found in several
loose pages between January 1, 2009 and January 25, 2009 (written year is scribbled
over). Again, this entry appears to be from 2009. See Exhibit 3.

B. The Offense Conduct And Corrections To The PSR

When a search warrant was executed at Mr. Morse’s residence on January 11,
2011, agents seized nine devices containing child pornography. According to the
presentence report, an extraordinarily high number of child pornography images and
videos were on those devices. This number is, however, misleading. In the first
place, only two of those devices were functioning, and one, the Blackberry, had no
images. In Mr. Morse’s solitary losing struggle against what was becoming a
compulsion, he often discarded the “offending computer” -- first removing the
internal hard drive before discarding the computer. He would then throw the now
unusable hard drive into his closet, often first taking out his frustrations on it with a
hammer. The January 3, 2009 and January 22, 2009 diary references to smashing the
computers are found in the PSR at p. 5, 7 10.

Exhibit 1, the government spreadsheet, identifies the nine devices seized in this
matter. Of the seized devices, however, only number 1B17 (a Toshiba Laptop) and
1B15 (a Blackberry) were functioning at the time of seizure. The remaining devices
are internal hard drives, which had been removed from the computers when the
computer body was discarded by Mr. Morse. These removed hard drives were not
connected to any computer, and many showed signed of damage. The majority of the
child pornography was found on these abandoned and unused (or unusable) hard
drives. (Mr. Morse’s active computer of Mr. Morse did, as the defense has
acknowledged, have over 600 images of child pornography.)

In the second place, the government spreadsheet also reveals that the vast
majority (over four-fifths) of the images were located in areas labeled as “Free

Space,” “Cache/Temp History,” and “Recycle” (see Exhibit 1):

DEFENDANT’S SENTENCING MEMORANDUM

 
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(a) “Free space” (or unallocated space) is defined as space on a hard drive
that contains deleted data, usually emptied from the operating system’s trash or
recycle bin, that cannot be seen or accessed by the user without the use of forensic
software. See United States v. Flyer, 633 F.3d 911, 918 (9" Cir. 2011). There is no
indication of any forensic software possessed by Mr. Morse in this matter, nor that
he accessed “free space” or unallocated space. The total of “free space” files on all
devices is 4,875. The total of “free space” files on the one active device is 4593.

(b) The total of “cache” files on all devices is 6,578. The total of “cache”
files on the one active device is 1808. “Cache” is a location which the computer will
automatically use to store files which are downloaded but not necessarily viewed. It
is a location which a knowledgeable user could access via another program. See
United States v. Kuchinski, 469 F.3d 853, 862-63 (9" Cir. 2006). Mr. Morse likely
had no access to files once in “cache,” and it is unlikely that he would know how to
get into the portion of the computer storage area.

(c) “Recycle” is the deleted file bin. This bin contains files that were not
necessarily or even ever likely viewed by Mr. Morse. The total of “recycle” files on
all devices is 3,328. The number of “recycle” files on the one active device is 394.

Images in “free space,” “cache,” and “recycle” were thus not in “Active” space,
which represents child pornography immediately available and viewable. The total
of “active files” on all devices is 1,732. The total of “active files” on the one usable
device (Toshiba Laptop 1B17) is 518. These files included some videos, which
would move the image count above 600. The child pornography actually seen by Mr.
Morse is, therefore, far less than the numbers stated in the PSR.

A further issue concerns the claim in the presentence report that Mr. Morse
posted images and videos on a P2P website for others to download (resulting in a
two-level increase). PSR, p. 8,23. As the presentence report indicates, Mr. Morse
received the child pornography in this case as a result of his participation in a peer-to-
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8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 14 of 25 Page ID #:234

peer (P2P) file sharing program, as described briefly in the PSR at p. 4, 7, footnote
l,

P2P permits sharing to occur by installing a P2P program. Thereafter, Mr.
Morse could download folders which contain images (“files”). No other action is
needed beyond this installation in order for others to have access, or “share,” although
a user can also designate files for sharing. The participation of Mr. Morse in the
sharing aspect was primarily passive. For his own use, however, Mr. Morse would
generally see a folder or file, and download it based on the name. Prior to download,
the actual images need not be viewed, nor is there necessarily an indication of the
actual number of images, or types of images, that will be coming in a folder. For
others to use the program, thereby accessing the files, Mr. Morse did nothing apart
from the installation of the program.

Because of the characteristics of the P2P program, it is possible for an
individual to obtain thousands or tens of thousands of images in folders which they
never open, never see, and have no knowledge regarding the actual contents. Single
images and videos can be contained in such folders. Upon receipt, a folder can be
deleted or recycled, or left untouched. It can, of course, be opened. Once opened, the
files or images within the folder can likewise be left unopened, deleted without
opening, or opened to view a thumbnail or full image. In the case of Mr. Morse,
Exhibit 1, the government spreadsheet, sets forth what was contained on each device,
and where the files were located.

C. Mr. Morse’s Conduct After The Warrant

As discussed above, after execution of the search warrant, Mr. Morse
immediately notified his supervising partner and the managing partner at his law firm.
The warrant had been executed at his home and no one at work was aware of this
investigation; Mr. Morse could thus easily have simply kept the investigation and
warrant secret, and continued to collect his salary. He did not do so, and instead
chose voluntarily to disclose the investigation and warrant to his firm. The regard in

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8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 15o0f25 Page ID #:235

| which he is held by his supervisors and colleagues is reflected in the letters of the

partners of the firm (including a former federal prosecutor, former federal judge, and
managing partner among others) attached hereto at Exhibit 4.

As also discussed above, Mr. Morse is now receiving counseling and treatment
for his addiction and identity issues as a result of his voluntary enrollment in Dr.
Wesley Maram’s Sex Offender Solution Program. See Exhibit 5. This program is not
the simple monitoring program often utilized by Pretrial Services. Rather, beginning
on September 10, 2011, Mr. Morse began the evaluation, lab and treatment process
in what can be a multi-year program. /d. In addition to making full disclosure to his
family, Mr. Morse also continues to voluntarily attend Alcoholics Anonymous at least

once a day, actively working with a sponsor.

It, ARGUMENT AND RECOMMENDATIONS

A. Corrections To Presentence Report

The advisory guideline calculations of the presentence report concerning the
charged offense are correct. Correction to the diary entry references and additional
information regarding the state of the seized devices and location of images have
been set forth above. The quotes of parents of victims were unknown to counsel prior
to reading the PSR. We have no foundation for comment apart from the fact that Mr.
Morse never considered any aspect of this suffering during his struggles with
addiction.

B. Guideline And Departures

The guideline calculations set forth in the PSR and Probation Letter to the
Court provide an overly simplified and aggressive formula in the determination of
what would constitute a reasonable sentence in this case. While the Court will
consider the guidelines, we submit that in the arena of child pornography sentencing,

they should be accorded less weight than in evaluation of sentencing for other crimes.
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DEFENDANT’S SENTENCING MEMORANDUM |

 
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8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 16 of 25 Page ID #:236

When an advisory guideline lacks empirical data and is driven by congressional
directive, it should be accorded less weight, or not followed at all. See Kimbrough
v. United States 128 S. Ct. 558 (2007), United States v. Sudyka 2008 WL 1766765
(D.Neb. April 14, 2008). In United States v. Beiermann, 599 F. Supp.2d 1087 (N.D.
Iowa 2009), in a child pornography matter, the court found that the guidelines should
be rejected on categorical, policy grounds, even in a “mine-run” case, because they

were not based on an individualized determination, but yielded an excessive sentence

 

driven by congressional directive. See also, Gall v. United States, 552 U.S. 38 (2007)
(considering cases such as drug offenses, also not tied to empirical evidence).

Additionally, many of the levels added for specific characteristics appear
redundant and unfair, akin to double counting. Addition of two levels for
prepubescent minors and two levels for use of a computer fall into this category.
Virtually all child pornography possession cases share these characteristics. Further,
automatic addition of four levels for sadomasochistic images regardless of the actual
number of said images, and irrespective of the fact that only a tiny percentage of these
images was found, warrants a downward departure.

Mr. Morse committed this crime not for profit, nor for that matter to carry out
pedophiliac acts toward children or to act out in any other way. Mr. Morse’s use of
the P2P program was intended to be only private and confined solely to his personal
life within his apartment. His use of the P2P program resulted in a cascade of folders
containing images, only a smail percentage of which he viewed. See Exhibit 1.
Where guideline calculations overstate the seriousness of a defendant’s conduct, the
Court may depart downward (i.e., in fraud cases under U.S.S.G. Section 2B1.1, App.
Note 16, or United States v. McBride, (362 F.3d 360 (6" Cir. 2004); United States v.
Monaco, 23 F.3d 793 (3d Cir. 1994)). In the instant case, the high numbers of the
guidelines are driven by factors that do not represent the actual number of images
seen by Mr. Morse. See United States v. Sudyka, 2008 WL 1766765 (D.Neb. Apr. 14,
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DEFENDANT’S SENTENCING MEMORANDUM

 
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8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 17 of 25 Page ID #:237

2008) at 5-6. Nor do these guideline numbers reflect his intended passive conduct in
downloading a program that would give him access to seeing forbidden images.

For Mr. Morse, the P2P program was a simple and (he thought) isolated way
in which to obtain and view child pornography and erotica. It appears, from the vast
number of cached, recycled and free (unallocated-unused) images in the folders
received by him, that he would download a folder and select a few images out of the
folder, thereafter viewing a portion of those. The remainder, it appears thousands,
were unseen, unsaved and once sent to recycle or free space, inaccessible by him.

In addition to these departures under the guidelines, the Booker, non-guideline
considerations should be considered by the Court. We address these next.

C. Booker Considerations

In United States v. Booker, the United States Supreme Court held that the
mandatory sentencing guidelines scheme, used by the federal courts for almost 20
years, was unconstitutional. 543 U.S. 220, 125 S.Ct. 738 (2005). Under the remedy
portion of the unique two-part Booker opinion, the sentencing guidelines are now
“advisory,” and while sentencing courts must continue to consider the now-advisory
guidelines in sentencing, courts must sentence in light of all of the sentencing
concerns enumerated in 18 U.S.C. § 3553(a). Thus, the Court held that the sentencing
court should “consider guidelines ranges . . . but it permits the court to tailor the
sentence in light of other statutory concerns as well.” Jd. at 245. The guidelines are
now just one factor of many to consider in fashioning an appropriate sentence that
furthers the objectives of 18 U.S.C. § 3553(a). United States v. Ameline, 400 F.3d
646, 655-56 (9th Cir. 2005).

Sentencing is to be based on the factors enumerated in 18 U.S.C. § 3553(a),
with the overriding concern that “[t]he court shall impose a sentence sufficient, but
not greater than necessary to comply with the purposes of [sentencing].” 18 U.S.C.
§ 3553(a). “Accordingly, in addition to the advisory guideline range, a sentencing

court must consider ‘the nature and circumstances of the offense and the history and

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DEFENDANT’S SENTENCING MEMORANDUM

 
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8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 18 of 25 Page ID #:238

characteristics of the defendant’ as well as the need for the sentence to reflect the
seriousness of the offense, promote respect for the law, provide just punishment,
afford adequate deterrence, protect the public, and provide the defendant with needed
training and medical care. In addition, the court must consider the relevant
Sentencing Commission policy statements and the need to avoid unwarranted
sentencing disparities and to provide restitution to victims.” Ameline, 400 F.3d at
656.

All of these factors may also be considered by the Court in adjudicating a
reasonable sentence, and one consistent with 18 U.S.C. Section 3553 and United
States v. Booker, supra. Under Section 3553(a), the Court should examine the
following factors after calculating the advisory guideline sentence. They are
discussed herein individually.

1. The Nature and Circumstances of the Offense

Rather than repeat what has already been described, we refer the Court to the
discussion above, and ask that the Court agree with us that those facts should mitigate
the sentence in this case.

2. The Defendant’s Characteristics

Here the mitigating facts are compelling. The information before the Court
from the PSR, Mr. Morse’s diary excerpts and the detailed picture provided by
numerous letters from his colleagues (Exhibit 4), family and many others who know
him well provide a compelling picture of mitigating facts. See Exhibit 6 (letters of
family and knowledgeable people): among others, Dr. Munzing knows Mr. Morse
well, and provides a realistic and compelling statement; attorney Elizabeth Haegelin
has worked with Mr. Morse, and provides a strong perspective about his commitment
to rehabilitation; Matthew Carden, cited briefly in the PSR (at p. 11, 7 52); the full
letter of Mr. Carden brings a global perspective from a person of similar age. And
of course, the parents and many relatives of Mr. Morse, all now knowledgeable about
the facts of this tragic matter, provide a strong sense of the shame that Mr. Morse is

13
DEFENDANT’S SENTENCING MEMORANDUM

 
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8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 19 of 25 Page ID #:239

undergoing, and the complete upending of his previously held level of respect. In all,
the penalties suffered by Mr. Morse are significantly greater than in the case of an
average defendant before this Court. The large contingent expected to attend the
sentencing will stand ready to answer any questions regarding character or remorse
that may arise.

Mr. Morse’s criminal conduct is limited to his involvement with child
pornography. The fact that many more images arrived via the program than he may
have viewed or even realized, is a product of his lack of knowledge. He has no past
history of violations of any sort, and there is no evidence that he ever acted to do
anything other than obtain and view child pornography. The shock of colleagues and
family attests to the isolated nature of his transgressions.

The words of his colleagues and family members speak loudly in this matter.
The disgrace and loss suffered by Mr. Morse is all the greater because of his
otherwise law abiding and exceptionally well regarded reputation. We ask the Court
to consider the impact of shame and disgrace on a successful, esteemed young person
as opposed to an average defendant. The horror of the destruction of one’s life in
such a circumstance cannot be overstated. This penalizing impact should carry
weight in the evaluation of a fair sentence.

Two factors which highlight Mr. Morse’s character and good faith struggles
in this matter bear repetition: 1) The diary entries chronicle his failed attempts to
cope with the addiction. They are the product of a young man of good character who
futilely tried to keep his problems to himself, taking out the frustrations with himself
by discarding and damaging his computers in an attempt to remove the temptation,
all the while trying to maintain the outward semblance of an earnest conservative
young associate (and son to his parents) in a very competitive world; 2) When his
world collapsed, he immediately came to his firm and confessed. He did this not to
save himself, but to act with integrity to protect the firm and client. These acts speak

louder than words. Thereafter, he took good faith steps to address the problem after

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DEFENDANT’S SENTENCING MEMORANDUM ]

 
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8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 200f 25 Page ID #:240

| his notice of the investigation, volunteering for treatment with a recognized sex

offender program (Sex Offender Solutions run by Dr. Maram — See Exhibit 5) and by
maintaining sobriety by diligent participation in AA, including work with a sponsor.
3. Collateral Consequences

The collateral consequences of the conviction and sentence to Mr. Morse are
far greater than to the average defendant. He will lose his bar license as a convicted
felon, and be unable to practice law. He has already lost his beloved job, as well as
a temporary job, and, as confirmed by the difficult time he has had with employment
following his discharge from the firm, is unlikely to be employable in the field he
trained for and loved. This penalty will follow him for his lifetime. Further, the
stigma ofa felony conviction will follow him forever, as the status as a registered sex
offender. In cases where employment, further education and housing opportunities
are going to be denied a defendant, the collateral consequences have been taken into
consideration in reducing the sentence. See United States v. Smith 683 F.2d 1236,
1240 (9" Cir. 1982). Further, the significant restrictions anticipated to be placed on
Mr. Morse as a result of his conviction and sentence are substantial and will

contribute to his difficulties in finding any form of employment.
4. Suffering of Mr. Morse — Stigma of Felony Conviction, Sex

Offender Registration

Mr. Morse’s suffering in this matter, both before and after the execution of the
warrant, is unquestioned. The ruin of reputation is a serious issue in this matter.
Virtually everyone in his family, social and legal working world, is aware of the
felony committed here. Having worked years to gain a reputation through his diligent
efforts, he now suffers more greatly because of its loss. Where the consequences of
a felony conviction are long lasting and permeate all aspects of a defendant’s life,
consideration in sentencing is warranted. See United States v. Libby sentence

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DEFENDANT’S SENTENCING MEMORANDUM

 
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8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 210f 25 Page ID #:241

5. Acceptance of Responsibility

Mr. Morse is accorded a three-level downward credit for his acceptance of
responsibility. See PSR at p. 3. Additional downward consideration is warranted
when a defendant evidences a super acceptance of responsibility. Mr. Morse’s
actions in acceptance of responsibility began immediately following the execution of
the warrant. Consider the choices made by Mr. Morse when he decided to
immediately go to the managing partner in his firm and confess in order to protect the
firm and clients. That is an extraordinary sacrifice and shows a state of mind which
fully accepts the consequences of his actions. This state of mind demonstrates that
Mr. Morse is willing to admit his crime and enter the correctional system with a frame
of mind that affords hope for success in rehabilitation over a shorter time than my
otherwise be necessary. This factor has been recognized as important by courts
reviewing sentencing of defendants. See Brady v. United States, 397 U.S. 742, 753,
90 S.Ct. 1463, 1471 (1970). See also, Smith v. Wainwright, 664 F.2d 1194, 1196
(11" Cir. 1981).

Mr. Morse’s acceptance of responsibility continued by his actions in seeking

 

voluntary rehabilitation. His letter to the Court is direct and straightforward. Exhibit
7.
6. Rehabilitation

Rehabilitation in this matter has already begun, and has been ongoing since
September 10, 2011. See Exhibit 5. The rehabilitation program involves three phases
of treatment: Phase I is from six to twelve months long; Phase II runs from twelve
to eighteen months; and Phase III can run for twelve months. Mr. Morse’s efforts in
this regard are worthy of greater consideration than in other cases where the
defendant has awaited sentencing without such participation. See United States vy.
Stern, 590 F.Supp.2d 945, 954 (N.D. Ohio 2008); United States v. Cherry 487 F.3d
366 (6" Cir. 2007). Similarly, downward departure in cases where a defendant has

entered a nationally recognized sex offender program and has an excellent long term

16
DEFENDANT’S SENTENCING MEMORANDUM |

 
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8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 22 of 25 Page ID #:242

prognosis with minimum risk of re-offending is warranted. See also United States v.
Shasky, 939 F.Supp. 695 (D.Neb 1996).

In addition to considering Mr. Morse’s work in rehabilitation, we ask the Court

 

to consider the eight months he has in the program thus far, when determining a
length of sentence in this matter. Further, Mr. Morse’s work in Sex Offender
Solutions reduces the risk of his becoming a repeat offender.

7. Mr. Morse’s Vulnerability in Custody

Mr. Morse is vulnerable to victimization in custody not only as a result of the
charges, but due to his complete inexperience with incarceration as well. In United
States v. Rausch, 570 F.Supp.2d 1295 (D.Colo. 2008), a defendant convicted of child
pornography possession was given a reduced sentence due to the unacceptably high
risk of victimization in custody, despite the Bureau of Prisons assurances that it
would do the best possible job in keeping him safe.

8. Avoidance of Disparity in Sentencing

In cases of child pornography possession, consideration in variance or
downward departures in sentencing was given where defendants with previously
impeccable credentials and excellent standing in the community faced catastrophic
collateral consequences. We ask that the same consideration of all factors be
accorded in this matter.

In United States v. Calcagno, 06-CR-152-AHM, the defendant was a respected
Orange County deputy sheriff sergeant with 21 years on the job. He actively
possessed over one million images of child pornography. As a result of his
conviction, he was discharged from the department, and rendered unemployable and
aregistered sex offender. He was sentenced to 42 months in prison. In United States
v. Kline, 02-CR-00040-CBM, a respected state court judge, was convicted of multiple
counts of child pornography possession. He was sentenced to 27 months in prison.

In each case it was recognized that the consequences in addition to the prison
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17
DEFENDANT’S SENTENCING MEMORANDUM

 
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8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 23 0f 25 Page ID #:243

sentence, were far greater as a penalty than suffered by other similarly charged
persons.

A consistent evaluation of the characteristics of this defendant and the
circumstances of his offense would render a similar significant consideration.

9. Deterrence

A heavy sentence is not necessary to deter Mr. Morse. His sustained work with
the Sex Offender Solutions demonstrates his commitment to treatment and an attitude
of rehabilitation. When a defendant demonstrates a willingness to involve him or
herself in such a voluntary way, this factor is important in sentencing consideration.
See United States v. Stern, 590 F.Supp.2d 945, 954 (N.D. Ohio, 2008).

Further, Mr. Morse himselfhas demonstrated his unlikelihood of re-offending.
Due to the unfortunate involvement of the Court and Pre Trial Services (PTS) during
the presentencing phase of this matter, we have insight to support the absence of Mr.
Morse’s inclination to re-offend. As the Court will recall, Mr. Morse was brought
before this Court for going on a non-workplace computer to fill out an Internet
government unemployment application without permission of PTS. His conduct of
going online solely to fill out the form, and then doing nothing further, is confirmed
by the search of the device shortly after PTS became aware of the transgression.
While it would be preferable not to have been before this Court in that instance, the
actual conduct of Mr. Morse shows that his was not inclined to seek out forbidden
materials.

The Sex Offender Solutions program should also receive credit for providing
Mr. Morse with the treatment and education to support his avoidance of involvement
with pornography.

Deterrence of the public in general was also considered by the courts
sentencing the two defendants noted above. In a case where an individual such as
Mr. Morse will lose his job, lose his profession, and be subject to community wide
disgrace, a sentence of prison of any length will have a deterrent effect. Any

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DEFENDANT’S SENTENCING MEMORANDUM

 
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8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 24o0f 25 Page ID #:244

professional holding a license of any kind who sees this case will be deterred. Where
high functioning individuals face catastrophic destruction of their life as they know
it, deterrence is effectuated.
10. Educational, Vocational and Treatment Consideration
The rehabilitation program in which Mr. Maram is involved would last
approximately three years. Upon release from prison (should the Court so sentence),
an order requiring Mr. Morse to complete the program could be considered as part of
the length of his overall sentence. Were the Court to sentence Mr. Morse to a reduced
sentence in prison, followed by completion of the Sex Offender Solution 3 year
program, the length of his participation in both prison and the program would be
significant.
D. Recommendations
1. Prison Sentence
A sentence of lengthy house arrest followed by completion of the current
program would appear reasonable in this matter. If the Court is inclined to issue a
prison sentence, we recommend no greater than 24 months plus the aforesaid program
as the term best satisfying the mandate of Section 3553(a). We ask the Court to
carefully review what may seem “boilerplate” terms of supervised release, and
consider the impact of each term on a person such as Mr. Morse. While undoubtedly
part of a necessary sentence, the impact will be enormous, and should be weighed in
the determination of a need for the minimum sentence to do the Job in this matter.
2. Post-sentencing Rehabilitation
Should the Court issue a prison sentence, we recommend that the order for the
Sex Offender Treatment Program set forth in the Probation Letter be included.
3. Supervised Release Consideration
In light of the ever-increasing vigilance of sex offender registration, we
recommend a seven-year term of supervised release. Mr. Morse has shown a great
capacity for rehabilitation in this matter. In addition, his forthright voluntary

19
DEFENDANT’S SENTENCING MEMORANDUM

 
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8:11-cr-00170-AG Document 30 Filed 07/19/12 Page 25o0f 25 Page ID #:245

disclosure of the investigation and his crime to his employer, followed by extensive
efforts at rehabilitation, reflect an individual who is not in need of a lifetime
supervision.
4. Self-surrender
The purpose of a sentence is better satisfied if Mr. Morse is permitted to
continue his rehabilitation work with Sex Offender Solutions and self-surrender at a
date in the future. It is our understanding that the Bureau of Prison designation
process is better able to accommodate the purposes of sentencing if they are given
time to evaluate the defendant and examine the Court’s orders. Also, the desi gnation
system apparently places persons who self-surrender in a less serious category than
those who are taken into custody upon sentencing. To this end, an order of self-
surrender even for a short time would suffice if the Court so determines that near
immediate custody is required.
The current terms of electronic monitoring in place provide adequate assurance
that Mr. Morse will continue to abide by all Court orders.
5. Residential Drug Abuse Program (RDAP)
In light of the extensive information regarding alcohol abuse and ongoing
treatment in this matter, we ask that Mr. Morse be recommended for the Residential
Drug Abuse Program (RDAP) if custody is ordered.

Dated: April 30, 2012 Respectfully submitted,

PAUL S. MEYER
A PROFESSIONAL CORPORATION

PAUL S. MEYER
Attorney for Defendant
CARLTON NEIL MORSE

20
DEFENDANT’S SENTENCING MEMORANDUM

 
